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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

CLYDE BENNETT,               JR.,   WILBUR       §
CHARLES BENNETT,                                 §
                                                 §
                                                 §
               Plaintiffs,                       §
                                                 §     CIVIL ACTION NO. 2:19-CV-00404-JRG
v.                                               §
                                                 §
STEVEN G. MCCARTER, WALTER E.                    §
PEARCE,                                          §
                                                 §
               Defendants.                       §
                                                 §

                                             ORDER
       Before the Court is the Stipulation of Dismissal (the “Stipulation”) filed by Plaintiffs Clyde

Bennett, Jr. and Wilbur Charles Bennett (collectively, “Plaintiffs”) and signed by Defendants

Steven G. McCarter and Walter E. Pearce (collectively, “Defendants”). (Dkt. No. 29.) In view of

the Stipulation, which the Court ACCEPTS AND ACKNOWLEDGES, and pursuant to Rule

41(a)(1)(A)(ii), all claims and causes of action in the above-captioned case are DISMISSED

WITH PREJUDICE. All pending requests for relief not expressly granted herein are DENIED

AS MOOT. Each party is to bear its own costs, expenses, and attorneys’ fees.

       The Clerk of the Court is directed to CLOSE the above-captioned case.

       So Ordered this
       Jul 26, 2020
